                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION
                                        *

UNITED STATES OF AMERICA                          *

        v.                                        *          Criminal No. SAG-21-202

DONALD HILDEBRANDT                                *

                   *     *     *     *     *      *    *     *     *     *       *

                                     MOTION TO SEAL

       Donald Hildebrandt, by counsel, hereby moves to seal his Motion to Suppress Tangible

and Derivative Evidence and for a Franks Hearing. The memorandum includes references to

information and documents covered by the protective order signed by the Court in this matter, Dkt.

# 35. The information appears throughout the filing and cannot be meaningfully redacted.

       WHEREFORE, Mr. Hildebrandt requests that the filing be placed under seal.

                                               Respectfully submitted,

                                               JAMES WYDA
                                               Federal Public Defender for the
                                               District of Maryland

                                                      /s/
                                               ________________________________
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